                                                                       Case 1:16-bk-12255-GM             Doc 261 Filed 11/16/16 Entered 11/16/16 15:31:26                           Desc
                                                                                                          Main Document     Page 1 of 2


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                                                                                                                                                          CLERK U.S. BANKRUPTCY COURT
                                                                                                                                                          Central District of California
                                                                       6   [Proposed] Attorneys for David K. Gottlieb, Chapter 11 Trustee                 BY Cetulio DEPUTY CLERK
                                                                           of the Estates of Solyman Yashouafar and Massoud Aaron
                                                                       7   Yashouafar

                                                                       8                                  UNITED STATES BANKRUPTCY COURT

                                                                       9                                   CENTRAL DISTRICT OF CALIFORNIA

                                                                      10                                     SAN FERNANDO VALLEY DIVISION

                                                                      11   In re:                                                        Case No.: 1:16-bk-12255-GM
P ACHULSKI S TANG Z IEHL & J O NES LLP




                                                                      12   SOLYMAN YASHOUAFAR and MASSOUD                                Chapter 11
                                                                           AARON YASHOUAFAR, 1
                                         LOS ANGELES, C ALIFO R NIA




                                                                      13                                                                 (Jointly Administered)
                                            ATTOR NE YS A T L AW




                                                                                                              Debtors,
                                                                      14
                                                                           In re:                                                        Case No.: 1:16-bk-12255-GM
                                                                      15
                                                                           SOLYMAN YASHOUAFAR,                                           Chapter 11
                                                                      16
                                                                                                              Debtor,
                                                                      17
                                                                           In re:                                                        Case No. 1:16-bk-12408-GM
                                                                      18
                                                                           MASSOUD AARON YASHOUAFAR,                                     Chapter 11
                                                                      19
                                                                                                              Debtor,
                                                                      20
                                                                           Affects:                                                      ORDER APPROVING CHAPTER 11
                                                                      21                                                                 TRUSTEE’S APPLICATION TO
                                                                            Both Debtors                                                EMPLOY BERKELEY RESEARCH
                                                                      22    Solyman Yashouafar                                          GROUP, LLC AS ACCOUNTANTS AND
                                                                            Massoud Aaron Yashouafar                                    FINANCIAL ADVISORS EFFECTIVE
                                                                      23                                                                 SEPTEMBER 21, 2016
                                                                                                              Debtors.
                                                                      24                                                                 [No Hearing Required]
                                                                      25

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                                                                            The Debtors, together with the last four digits of each Debtor’s social security number are: Solyman Yashouafar (5875)
                                                                      28   and Massoud Aaron Yashouafar (6590). The Debtors maintain a business address of 16661 Ventura Blvd., Suite 600,
                                                                           Encino, CA 91436.

                                                                           DOCS_LA:302279.1 32274/001
                                                                       Case 1:16-bk-12255-GM            Doc 261 Filed 11/16/16 Entered 11/16/16 15:31:26               Desc
                                                                                                         Main Document     Page 2 of 2


                                                                       1           This Court, having considered the application (the “Application”) of David K. Gottlieb, the

                                                                       2   duly appointed chapter 11 trustee (the “Chapter 11 Trustee”), solely in his capacity as Trustee for

                                                                       3   the bankruptcy estate of Solyman Yashouafar and Massoud Aaron Yashouafar (the “Debtors”), to

                                                                       4   employ Berkeley Research Group, LLC (“BRG”), as accountants and financial advisors to the

                                                                       5   Chapter 11 Trustee, and the Declaration of Marvin Tenenbaum filed in support thereof, and the

                                                                       6   Court finding that due and sufficient notice of the Application has been given, and based upon the

                                                                       7   record before the Court, it appears that the Firm does not hold or represent an interest adverse to the

                                                                       8   Debtors, that BRG is a disinterested person, that its employment is in the best interest of the estate,

                                                                       9   and, there being no objections to or requests for hearing on the Application, that no hearing on the

                                                                      10   Application is required pursuant to the Local Bankruptcy Rules. Accordingly, it is hereby:

                                                                      11           ORDERED that the Chapter 11 Trustee is authorized to employ BRG as his accountants
P ACHULSKI S TANG Z IEHL & J O NES LLP




                                                                      12   and financial advisors herein, effective as of September 21, 2016, on the terms and conditions set
                                         LOS ANGELES, C ALIFO R NIA




                                                                      13   forth in the Application; and it is further
                                            ATTOR NE YS A T L AW




                                                                      14           ORDERED that, as set forth in the Application, the employment of BRG is approved

                                                                      15   pursuant to section 327(a) of the Bankruptcy Code and any fee applications shall be considered in

                                                                      16   accordance with sections 330 and 331 of the Bankruptcy Code.

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                                                                             Date: November 16, 2016
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